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                                        ORDERED.

     Dated: May 02, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


IN RE:                                                  Case No. 6:19-bk-01510-CCJ

DANNY L. MONK AND                                       Chapter 7
PATRICIA L. MONK,

            Debtors.
______________________________________/

                ORDER GRANTING MOTION FOR RELIEF FROM STAY
                      IN FAVOR OF BANK OF AMERICA, N.A.
                    [Re: 14 Cypress Trail, Lakeland, Georgia 31635]

         THIS CASE came before the Court upon the Motion for Relief from Automatic Stay
[D.E. #12] (the “Motion”) filed by Bank of America, N.A. (“Secured Creditor”), pursuant to the
negative notice provisions of Local Rule 2002-4. Having considered the Motion and the absence
of any record objection to the relief requested, the Court deems the Motion to be uncontested.
The Court makes no determination that the Debtors have defaulted on the underlying obligation
or as to the Creditor’s standing. Accordingly, it is:
         ORDERED:
         1.     Secured Creditor’s Motion for Relief from Automatic Stay is granted.
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       2.       The automatic stay imposed by 11 U.S.C. §362 is terminated with respect to real
property located at 14 Cypress Trail, Lakeland, Georgia 31635 (the “Property”), legally
described as:
                ALL THAT TRACT OR PARCEL OF LAND SITUATE,
                LYING AND BEING IN LAND LOT 494 OF THE 10TH
                DISTRICT OF LANIER COUNTY, GEORGIA DEED
                RECORDS, BEING MORE PARTICULARLY DESCRIBED
                AS LOT 35 OF BANKS LAKE POINTE SUBDIVISION AS
                SHOWN ON THAT CERTAIN MAP OR PLAT OF SURVEY
                ENTITLED “FINAL PLAT OF BANKS LAKE POINTE”,
                DATED SEPTEMBER 29, 2005 AND RECORDED IN PLAT
                CABINET A, SLIDE NUMBER 133J* IN THE OFFICE OF
                THE CLERK OF THE SUPERIOR COURT OF LANIER
                COUNTY, GEORGIA DEED RECORDS. SAID MAP OR
                PLAT OF SURVEY IS INCORPORATED EHREIN BY
                REFERENCE THERETO FOR ALL PURPOSES IN AID OF
                DESCRIPTION.

                *REVISED PLAT SHOULD BE A/131J

       3.       The automatic stay is modified for the sole purpose of allowing Secured Creditor
to complete in rem relief to take any and all steps necessary to exercise any and all rights it may
have in the Property, to gain possession of said the Property, to have such other and further in
rem relief as is just, but the Secured Creditor shall not obtain in personam relief against the
Debtors.
       4.       All communications sent by Secured Creditor in connection with proceeding
against the Property including, notices required by state law and communications to offer and
provide information with regard to a potential Forbearance Agreement, Loan Modification,
Refinance Agreement, Loss Mitigation Agreement or other Loan Workout, may be sent directly
to Debtor(s).
       5.       The Court in its discretion waives the fourteen (14) day stay of the Order Granting
Motion for Relief from Stay pursuant to Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure.
       6.       The Court makes no determination that the Debtors have defaulted on the
underlying obligation.


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Order submitted by:
Jennifer Laufgas
Attorney for Secured Creditor
Aldridge Pite, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (619) 590-1385
Email: jlaufgas@aldridgepite.com


Attorney Jennifer Laufgas is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.



DEBTORS ATTORNEY
(via electronic notice)
Neil J Buchalter
eservice@buclawgroup.com

DEBTORS
Danny L. Monk
Patricia L. Monk
1425 Rila Street, SE
Palm Bay, FL 32909

TRUSTEE
(via electronic notice)
Gene T Chambers
gtchambers@cfl.rr.com

UNITED STATES TRUSTEE
(via electronic notice)
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
USTP.Region21.OR.ECF@usdoj.gov
